                                                                               JA
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                                                                                              Mar 16, 2021
                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                   21-20159-CR-MARTINEZ/BECERRA
                              CASE NO. -----------
                                       18 u.s.c. § 371
                                       18 U.S.C. § 981(a)(l)(C )



   UNITED STATES OF AMERICA

    vs.

   EDUARDO NAVARRO and
   NAYADE VARONA,

    Defendants.
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                                           INFORMATION

          The United States Attorney charges that:

                                    GENERAL ALLEGATIONS

          At all times relevant to this Information:

                             The Federal Food, Drug, and Cosmetic Act

          1.     The United States Food and Drug Administration ("FDA") was the agency of the

  United States charged with responsibility for protecting the health and safety of the American

  public by enforcing the Federal Food, Drug, and Cosmetic Act ("FDCA"). Among other purposes,

  the FDCA was designed to ensure that drugs sold for human use were safe and effective, and that

  clinical trials undertaken to test experimental drugs were conducted honestly and safely.

          2.     A "clinical trial" was an investigation involving one or more human subjects

  intended to determine the safety or effectiveness of an experimental drug. 21 C.F.R. § 312.3(b).
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                    iûsPonsor'' w as a phannaceutical com pany, govenunent agency, or other

  organization thatinitiated and took responsibility fora clinicaltrialbutdid nottypically conduct

  theclinicaltrial.21C.F.R.j312.3(b).
                A dûcontract research organization''was an organization retained by a sponsor to

  m anagevarious aspectsofa clinicaltrial,including recruitm entofclinicalinvestigatorsand study



                 Sponsors typically initiated clinicaltrials forpurposes of subm itting the resultant

  data to the FD A . Am ong other things,sponsors subm itted such data to the FD A in supportof

  applicationsseeking FDA approvalto m arketnew drugsw ithin theU nited States.TheFD A relied

  on the veracity ofclinicaltrialdatato m ake signiticantdecisionsconcerning the safety and efficacy

  of new drugs,w ith the ultim ate goal of ensuring that all FD A -approved drugs w ere safe and

  effective fortheirapproved indications.

                 Priorto beginning a clinicaltrial,a sponsorw as required to provide the FDA w ith

  extensive inform ation regarding the proposed study, including a detailed investigational plan

  known asaûtProtocol.'' 21C.F.R.j312.23(a)(6). Theprotocoldescribed,among otherthings,
  thecriteria forindividualsto participate in thestudy assubjects(known aseligibility criteria),
  schedules of tests and procedures,drug and dosage regim ens,the length of the study,and the

  outcom es that would be m easured by the study.       C.F.R.j312.23(a)(6). Clinicaltrialswere
  requiredtobeconductedaccordingtotheprotocol.21C.F.R.j312.53(c)(1)(vi)(a).
                 A ûûclinical investigator'' w as an investigator, typically a physician, w ith

  responsibility for actually conducting a clinical trial and under whose im m ediate direction an

  experimentaldrug wasto beadministered ordispensed to a subject. 21C.F.R.j 312.3(b).
  clinicalinvestigatorw as responsible forensuring thatclinicaltrials w ere conducted according to
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  theprotocoland applicable FDA regulations. 2l C.F.R.jj 312.53(c)(1)(vi)(a)& (b). Before
  beginning a clinicaltrial,a clinicalinvestigatorw as required to provide the sponsorw ith a signed

  Form FDA 1572,in w hich the clinicalinvestigator agreed to abide by the term s ofthe protocol

  andallapplicableFDA regulations.21C.F.R.j312.53(c)(l).A ttsubinvestigator''workedunder
  the direction ofthe clinicalinvestigator and assisted the clinicalinvestigatorin the conductofthe



                FDA regulations im posed a num ber of requirem ents on clinical investigators,

  including the obligation to prepare and m aintain adequate and accurate tûcase histories'' that

  recordedallobservationsandotherdatapertinenttotheinvestigationoneachsubjectadministered
  an experim entaldrug. The case historiesw ere required to include,am ong otherthings,inform ed

  consentformsandmedicalrecords.21C.F.R.j312.62(b).
                FDA regulations also required clinicalinvestigators to m aintain adequate records

  concerning the disposition of study drugs,including dates and quantities of drugs dispensed to

  subjects.21C.F.R.j312.62(a).
                            TheDefendantsandtheirCo-conspirators
         10. TellusClinicalResearch (tûTellus'')wasa medicalclinic located at9425 Sunset
  Drive, Suite 136, M iam i, Florida, that conducted clinical trials on behalf of phanuaceutical

  Com pany SPOIASOCS.

                DefendantEDUARDO NAVARRO wasaresidentofM iam i,Floridaandlicensed

  to practice as an advanced registered nurse practitionerin the State ofFlorida. From in oraround

  April2014 and continuing through in oraround April2016,N A VA R R O w as em ployed atTellus

  as a subinvestigator.
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                DefendantNAYADE VARONA wasaresidentofM iam i,Florida. From orabout

  June 2014,and continuing thzough in oraround July 2016,VA R O N A w as em ployed atTellusas

  an assistantStudy Coordinator.

                M artin Valdes w as a m edicaldoctor residing in Coral Gables,Florida,who w as

  licensed to practice m edicine in the StateofFlorida and served asa clinicalinvestigatorforclinical

  trialsconducted atTellus.

                A nalay Rico w as Tellus em ployee,residing in M iam i,Florida,w ho served asthe

  lead study coordinatorforclinicaltrials conducted atTellus.

                D aylen D iaz w as a Tellus em ployee,residing in M iam i,Florida,who served as a

  research assistantand assistantstudy coordinatorforclinicaltrials conducted atTellus.

         16. Co-conspirator1(CC#1)wasaTellusemployee,residinginM iami,Florida,who
  served as an assistantstudy coordinator for clinicaltrialsconducted atTellus.

                              The Sponsors and Their ClinicalTrials

                 Sponsor //1 and Sponsor//2 w ere drug m anufacturersthatdeveloped,investigated,

  and m anufactured drugs for com m ercialdistribution in the U nited States. Partof their business

  wasinvestigating new drugsthrough clinicaltrialsregulated by the FDA .

         18.     Sponsor //1 initiated tw o clinical trials concerning a new investigational drug

  intendedtotreatpatientssufferingfrom irritablebowelsyndromewithdiarrhea(collectively,tûthe
  lBStrials'').ContractResearchOrganization//1(CLCRO //1'')wasacontractresearchorganization
  thathired clinicalinvestigatorsand m anaged clinicaltrialsforsponsors. Sponsor//1 retained CRO

  //1 to m anage various aspects ofthe lB S trials. Am ong otherthings,CR O //1 w asresponsible for

  hiring clinicalinvestigators and study sitesto conductthe IBS trials.
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         l9.     On oraboutSeptember5,2014,CRO //1 entered into a contractwith Tellusand

  M artin V aldes in which Tellus and V aldes agreed to serve as study site and clinicalinvestigator,

  respectively,forthe second 1BS trial. The contractrequired Tellusand V aldesto conductthe trial

  in strictcom pliance w ith the protocoland allapplicable laws and regulations.

                 Amongotherthings,thestudyprotocolsforthelBStrialsrequiredsubjectstomake
  periodic scheduled visits to the clinicaltrialsite.The study protocols furtherrequired that,during

  someofthesevisits,subjectswouldprovidebloodsamplesforphannacokineticanalysis,receive
  physicalexam sby clinicaltrialstaff,and undergo electrocardiogram s.

         21.     Aspal4ofthelBS trials,Telluswasrequired to pay each subject$100 fortravel
  and parking costs for each visitto the Tellus site.

                 The study protocolsforthe1BS trialsalso required subjectsto use an ûse-diary''
  system to reporttheir daily experience w ith the experim entaldrugs being studied. Specifically,

  subjectswererequiredtomakedailyphonecallstoatoll-freenumbermaintainedbyathirdparty.
  Uponcalling,subjectswould bepromptedwith automated questionsconcerningtheirdaily drug
  experience,and directed to answ erthose questionsnon-verbally by pushing touch-tone buttonson

  theirphones.Thestudyprotocolsrequiredthatthesubjectsthemselves,notclinicalinvestigators
  or site staff,respond to questionsusing the e-diary system .

                 Sponsor//2 initiated a clinicaltrialconcelming a new investigationaldrug intended

  totreatpatientssufferingfrom diabeticnephropathy,akidneydisease(ttthediabetestrial'').
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         24.     On oraboutDecem ber29,2014,Sponsor//2 entered into a contractw ith Tellusand

  M artin V aldes in w hich Tellus and V aldes agreed to serve as study site and clinicalinvestigator,

  respectively,forthe diabetestrial.The contractrequired Tellusand V aldesto conductthe diabetes

  trialin strictcom pliance w ith the protocoland allapplicable law s and regulations.

                 Among otherthings,thestudy protocolforthediabetestrialrequired subjectsto
  makeperiodicscheduledvisitstotheclinicaltrialsite.Thestudyprotocolfurtherrequiredsubjects
  to,am ong otherthings,provide urine and blood foranalysisand receive physicalexam sby clinical

  trialstaff.

         26.     CRO //1 and Sponsor//2 paid Tellus foritsw ork on the lB S trials and the diabetes

  trial,respectively.Pursuantto the contractsgoverning the 1B S trialsand the diabetestrial,paym ent

  wastobebasedlargelyonthenumberofsubjectsenrolledintheclinicaltrialandthedurationof
  timethatthesubjectsremainedintheclinicaltrial.Thus,themoresubjectsthatwereenrolledin
  the studies at any given clinicaltrialsite,the higher the potential incom e for that study site,its

  clinicalinvestigators,and its staff.

                                          C O N SPIM CY
                                          (18U.S.C.j371)
         Beginning in oraround June 2014,and continuing atleastthrough in oraround July 2016,

  in M iami-DadeCounty,intheSouthern DistrictofFlorida,and elsewhere,thedefendants,

                                    EDU A RD O N A VA R R O and
                                      N AY A DE V A R O N A ,

  did willfully,thatis,with the intentto furtherthe objectsofthe conspiracy,and knowingly
  com bine, conspire,confederate, and agree w ith each other, with M artin V aldes, Analay R ico,

  Daylen Diaz,CC#1,and othersknow n and unknow n to the United StatesA ttorney:

                 to defraud the United States and departm ents and agencies thereof,nam ely,the

  FDA ,by im pairing,im peding,and obstructing by craft,trickery,deceit,and dishonestm eans,the
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  FDA 'S law fuland legitim ate function ofregulating clinicaltrials ofdrugs;and

         b.     to com m itan offense againstthe U nited States by know ingly and w ith intentto

  defraud,devise and intend to devise a schem e and artifice to defraud and to obtain m oney and

  property by m eans of m aterially false and fraudulent pretenses,representations, and prom ises,

  know ing thatthe pretenses,representations,and prom ises w ere false and fraudulentw hen m ade,

  and forthe purpose ofexecuting the schem e,transm itting and causing to be transm itted,by m eans

  of w ire com m unications in interstate and foreign com m erce, certain w ritings, signs, signals,

  pictures,and sounds,in violation ofTitle 18,U nited States Code,Section 1343.

                              PUR PO SE O F TH E CO N SPIR AC Y

                Itw asthe purpose ofthe conspiracy forthe defendantsand theirco.conspiratorsto

  unlawfully enrich them selves by m aking m aterially false and fraudulent representations about

  Tellus'sclinicaltrials,fabricating data and theparticipation ofsubjectsin thoseclinicaltrials,
  concealing from the FD A ,sponsors,and contractresearch organizationsthe factthatthe data and

  participation of subjects had been fabricated, inducing sponsors and contract research
  organizations to pay m oney to Tellus and its clinicalinvestigators,and keeping the m oneyspaid

  fortheirown benefit.

                       M A NN ER AN D M EA N S O F TH E CO N SPIM CY

         The m anner and m eans by w hich the defendants and their co-conspirators sought to

  accomplishtheobjectsandpurposeoftheconspiracy included,amongothers,thefollowing:
         28.    M artin V aldes,A nalay Rico,and otherco-conspirators soughtoutopportunities for

  Tellus and itsclinicalinvestigatorsto conductclinicaltrials on behalfofsponsors.

                Tellus and M artin V aldes entered into contracts w ith sponsors,and w ith contract

  research organizationsacting on behalfofsponsors,in w hich Tellusand V aldesagreed to conduct
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  clinicaltrials atthe Tellus site. ln return,the sponsorsand contractresearch organizationsagreed

  to pay Tellusand V aldes fortheir services.

         30. Ratherthanrecruitsubjectswhometalleligibilitycriteria,andadministerthestudy
  proceduresasrequired by the protocols,ED U AR D O NA VA R R O ,NA Y A D E V A R O N A,M artin

  V aldes,A nalay Rico,D aylen Diaz,CC#1,and other co-conspirators falsified and fabricated the

  participationofsubjectsintheclinicaltrials.
         31.     E DU AR D O N AV A RR O ,NA YA D E VA R O N A and their co-conspirators knew

  thattheFDA regulated clinicaltrials,and knew thatclinicalinvestigatorsw ererequired to m aintain

  case histories documenting the participation of subjects in the clinicaltrials. NAVARRO,
  V AR O N A,and theirco-conspiratorsalso knew thatthe FD A,and in som e casescontractresearch

  organizationsacting on behalfofsponsors,had the authority to inspectthe Tellus site and review

  the case histories.

                 In orderto preventthe FD A and contractresearch organizationsfrom learning that

  theco-conspiratorshadfalsifiedand fabricatedtheparticipationofsubjectsin theclinicaltrials,
  ED UA RD O N AV A R RO , NA Y AD E V A R O NA ,M artin V aldes, Analay Rico, D aylen D iaz,

  CC#1,and other co-conspiratorsfabricated w ritten case histories,so thatthe case historiesfalsely

  represented thatcertain personsweresubjectsin clinicaltrials,when,in truth and in fact,those
  personswerenotsubjectsinclinicaltrials.
                 O ne orm ore ofthe co-conspiratorsem ployed a variety ofm eansto obtain personal

  identification infonnation,including copies ofidentification docum ents such as drivers' licenses

  andpassports,forpurportedclinicaltrialsubjects.
                 ln sonne instances, one or nnore of the co-conspirators obtained identitication

   infonuation from persons they knew, including friends and fam ily m em bers, and used the


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  identification infonnationto falselyportraythepersonsasclinicaltrialsubjects.
                 In other instances, one or m ore of the co-conspirators obtained identification

  infonnation from various third parties,and used thatidentification inform ation to falsely portray

  thepersonsasclinicaltrialsubjects.
                 ln one instance,D aylen D iaz obtained the identification infonuation of K .L.,a

  residentof M iam i,Florida,by taking the infonnation from an em ploym entfile m aintained by a

  com pany atw hich D iaz and K .L.w ereboth em ployed.D iaz took K .L.'Sidentification infonnation

  from the em ploym ent file,w ithout the know ledge or consent of K .L.or the em ployer, for the

  speciticpurposeoffalselyportrayingK.L.asasubjectinthesecondlBStrial.
                 EDU AR D O N AV A RR O ,N A YA D E V AR O N A , M artin Valdes,A nalay Rico,

  D aylen D iaz,CC#1,and other co-conspirators falsified the content of case histories to m ake it

  appearthatthepurported subjectshad,amongotherthings,consented to participating in clinical
  trials,satisfied the study protocoleligibility criteria,appeared forscheduled visits atthe site,saw

  theinvestigatororsubinvestigatorforphysicalexam inations,took the study drugsasrequired,and

  received checksaspaym entforsite visits.

         38.     Inorderto concealthefactthatthesubjectswerenotactually participatinginthe
  clinical trials, one or m ore of the co-conspirators discarded, w ithout using, the study drugs

  provided by sponsors,and N AY A DE V AR O N A , Analay Rico,and D aylen D iaz placed false

  documentationinthecasehistoriesrepresentingthatsubjectsweretakingstudydrugsasrequired
  by the protocols.

         39. ln ordertoconeealthefactthatthesubjectswerenotactuallyparticipating inthe
  clinicaltrials,N A YA D E V AR O N A ,A nalay R ico,D aylen D iaz,and other co-conspirators drew

  blood from Tellusem ployees,sentthe blood to third party labsforanalysis,and received the blood
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   test results back from the labs. V AR O N A , Rico, Diaz, and other co-conspirators placed

   docum entation in the case histories falsely representing thatthe blood testresults were those of

   clinicaltrialsubjects.
          40. In orderto concealthe factthatthe subjects were notactually participating in
   clinical trials,A nalay Rico, Daylen Diaz, and other co-conspirators placed telephone calls,on

   behalfofpurported subjects,to the e-dial'y system forthe lBS trialsand provided false and
   tictitiousanswersinresponsetoquestionsaboutthesubjects'dailydrug experience.
          41. ln orderto concealthefactthatthesubjectswerenotactuallyparticipatinginthe
   clinicaltrials,oneorm oreoftheco-conspiratorsplaced photocopiesofchecks,m adeoutfrom the

   Tellustothestudy subjects,in the casehistories. NAYADE VARONA,Analay Rico,Daylen
   D iaz,and otherco-conspirators signed paym entlogs in the case histories to falsely indicate that

   thesubjectshadreceivedthechecksoncertainspeciticdates.
          42.    ln som e cases,NA Y AD E V A RO NA ,A nalay Rico,Daylen D iaz,and otherco-

   conspiratorsdepositedthechecks,madeoutfrom Tellustothepurportedstudysubjects,intothe
   co-conspirators'ow n personalbank accounts.

                                           O VE RT A C TS

          lnfurtheranceoftheconspiracy,andtoaccomplishtheobjectsandpurposethereof,atleast
   one ofthe following overtacts,am ong others,w ere com m itted in the Southern D istrictofFlorida,

   and elsewhere,by atleastone co-conspirator:

                 On Augustl3,2014,M artin V aldessigned hisnam e to a Folnn FD A l572,agreeing

   to conduct the second lB S trialin accordance w ith the study protocoland to m aintain adequate

   and accurate records,am ong otherthings.

                 O n oraboutSeptem ber 3,2014,M artin V aldes signed his nam e to a contractw ith


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   CRO #1,whereby Valdes agreed to serve asthe clinicalinvestigatorforthe second 1BS trialatthe

   Tellussite.

                  On or aboutFebruary l6,20l5,Analay Rico initialed case history docum entation

   forthe second lBS trial,falsely portraying K .L.ashaving participated in a screening visitforthe

   second IB S trialatTellussite,w hen in fact,as Rico w ellknew ,K .L.had notparticipated in such

   a screening visitand thisrepresentation w asfalse.

          4.      On or about February            2015, A nalay R ico signed inform ed consent

   documentationfalselyrepresentingthatK.L.hadgiveninformedconsenttoparticipateasasubject
   in the second 1BS trial,w hen in fact,asRico w ellknew ,K .L.had notgiven inform ed consentand

   this representation w as false.

                  On or about Februal'y 16,2015, EDU A R DO N AV A R RO signed case histoly

   docum entaticm forthe second 1B S trial,falsely and fraudulently representing thathe had seen K .L.

   in person and perform ed a physical exam ination on K .L. as required by the study protocol,

   including, am ong other things,exam ining K .L.'s general appearance, respiratoly system , and

   cardiovascularsystem ,w hen in fact,as NA V AR R O w ellknew ,K .L.w as nota participantin the

   second lBS trialand these representationsw ere false.

                  O n or about February 16,2015, E DU AR DO N A V AR R O wrote and signed a

   statementthatûigplhysicalexamination wasdone''in casehistory documentation forthe second
   1B S trial, falsely representing that he had seen K .L. in person and perfonued a physical

   exam ination on K .L as required by the study protocol,when in fact,as N AV A R R O wellknew ,

   K .L.w asnota participantin the second IBS trialand these representation w ere false.

                  On oraboutM arch 9,2015,D aylen D iaz initialed case histoly docum entation for

   the second 1BS trial,falsely representing thatD iaz had seen K .L.in person and taken a num berof



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   actions required by the study protocolincluding,am ong other things,talking to K .L.abouther

   dietary habits,lifestyle,and exercise regim en,collecting K .L.'S urine,taking K .L.'S vitalsigns,

   and taking K .L.'sblood,w hen in fact,asD iaz wellknew ,K .L.w as nota participantin the second

   lB S trialand these representationsw ere false.

                  O n oraboutA pril6,20l5,Daylen D iaz signed a Study Paym entLog forthe second

   IB S trial,falsely representing thatcheck //2677,m ade out from Tellus to K .L.in the am ountof

   $100,had been disbursedto and received by K .L.on oraboutApril6,2015,when in fact,asDiaz
   wellknew ,K .L.wasnota participantin the second 1BS trialand thisrepresentation w as false.

                  O n Or about April6,2015,A nalay Rico deposited check //2677,m ade Out from

   Tellusto K.L.in theamountof$100,into Rico'spersonalbank account.

                  On or about June          2015, N A YA D E VA R O N A initialed case history

   docum entation for the second lBS trial, falsely and fraudulently representing thatshe had seen

   K .L.in person and taken a num ber of actions required by the study protocolincluding,am ong

   other things,talking to K .L.abouther dietary habits,lifestyle,and exercise regim en,collecting

   K.L.'S urine,taking K .L.'S vitalsigns,and dispensing the study drug to K .L.,when in fact,as

   VAR O N A wellknew ,K .L.w asnota pal-ticipantin the second 1BS trialand these representations

   svere false.

                  O n or aboutJune 1,2015,N AY A D E V A R O NA noted and initialed case history

   docum entation for the second 1BS trial,falsely representing thatshe had collected K .L.'S urine at

   6:55,had perform ed a urine pregnancy testat6:58,and read the testresults at7:02,when in fact,

   as V AR O N A w ell knew , K .L. w as not a participant in the second lB S trial and these

   rcpreselltationsW erc false.

                  On or aboutJune 1,2015,NA Y A DE V A R O NA noted and initialed case history



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   docum entation forthe second 1B S trial,falsely representing that she had taken K .L.'S vitalsigns

   at7:05,when in fact,as V AR O N A wellknew ,K .L.w asnota participantin the second 1BS trial

   and thisrepresentation w asfalse.

                 O n oraboutJune 1,2015,M artin V aldes signed case history docum entation forthe

   second IBS trial,falsely representing thatV aldeshad seen K .L.in person and perform ed a physical

   exam ination on K .L.as required by the study protocol,including,am ong otherthings,exam ining

   K .L.'S generalappearance,respiratory system ,and cardiovascularsystem ,w hen in fact,as V aldes

   wellknew ,K .L.w as nota participantin the second IBS trialand these representationsw ere false.

                 On or about M arch 29, 2016, CC#1 signed case history docum entation for the

   diabetes trial,falsely representing that C C#1 had seen S.D .in person and,am ong other things,

   collected three urine specim ensand blood from S.D .w hen,in truth and in fact,asCC#1w ellknew ,

   CC#1 had nottaken these actionsand these representationsw ere false.

          A llin violation ofTitle 18,United StatesCode,Section 371.

                                              FO R FE ITU R E
                                         (18 U.S.C.j981(a)(1)(C))
                 The generalallegations in this lnfonnation are re-alleged and fully incorporated

   herein for alleging forfeiture to the U nited States of certain property in which the defendants,

   EDU AR DO N A VA R R O and N AY A DE V A R O N A ,have an interest.

                 Upon conviction of a conspiracy to violate Title l8,U nited States Code,Section

   1343,as alleged in this lnfonuation,the defendantso convicted shallforfeitto the U nited States,

   pursuantto Title 18,United StatesCode,Section 981(a)(1)(C),any property,realorpersonal,
   which constitutes oris derived from proceedstraceable to such violation.
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          Allpursuantto Title 18,United StatesCode,Section 981(a)(1)(C),and the procedure
   outlined atTitle 21,U nited States Code,Section 853,both ofw hich are m ade applicable by Title

   28,UnitedStatesCode,Section2461(c).
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                                        By: LAU N M          ELF ER
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                                                TRIA L A TTORN EY S
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                                          UNITED STATES DISTRICT CO URT
                                         SO UTHERN DISTRICT O F FLO RIDA

UNITED STATES O F AM ERICA


                                                      C ERTIFICATE O F TRIAL ATTO RN EYA
EduardoN avarro,etal.
                                                      Superseding CaseInform ation:
                           Defendants.    /

CourtDivi
        jion:(selectOne)                              New defendantts)           Yes
 ?'    M lami          Key W est                      N um berofnew defendants
       FTL             W PB                           Totalnum berofcounts

                lhave carefully considered the allegationsofthe indictment, thenumberofdefendants,the numberof
                probablewitnessesand the legalcomplexitiesofthelndictment/lnformation attached hereto.
                Iam aware thatthe information supplied on this statementwillbe relied upon by the Judges ofthis
                Courtin setting their calendarsand scheduling crim inaltrials underthe mandate ofthe Speedy Trial
                Act,Title28 U.S.C.Sedion 3l61.
                lnterpreter:      (YesorNo)    Yes
                Listlanguageand/ordialect      Soanish
                Thiscasewilltake 0 daysforthepartiestotry.
                Pleasecheck appropriatecategory and typeofoffense listedbelow:


       I        0 to 5 days                                  Petty
       lI       6 to l0 days                                 M inor
       I1l      l1 to 20 days                                M isdem.
       IV       2lto 60 days                                 Felony              V
       V        61 daysand over
       6.       HasthiscasepreviouslybeenfiledinthisDistrictCourt?           (YesorNo)      No
        lfyes:Judge                                  case No.
        (Attachcopyofdispositiveorder)
        Hasacomplaintbeenfiledinthismatter?           (YesorNo)      X0
        lfyes:M agistrateCaseNo.
        Relatedm iscellaneousnum bers:                2l-CR-20106-Scola/Goodman
        Defendantts)infederalcustodyasof
        Defendantts)instatecustodyasof
        Rule20 from the Districtof
        lsthisapotentialdeathpenalty case?(YesorNo)
                Doesthiscase originatefrom am atterpending in theCentralRegion oftheU.S.Attorney'sOft-ice
                priortoAugust9,2013(M ag.JudgeAlicia0.Valle)?                Yes            No ?'
       8.       Doesthiscase originatefrom am atterpending in theN ol-thern Region ofthe U .S.A ttorney'sOffice
                priortoAugust8,2014(Mag.JudgeShaniekMaynard)?                Yes            No ?'
                Doesthiscaseoriginatefrom am atterpending in theCentralRegion ofthe U .S.A ttorney'sO ftice
                priortoOctober3,20l9(Mag.JudgeJaredStra s .                  Ye             No z
                                                                    lc               ..N
                                                              Lauren .Elfner, OJTrialA ttonzey
                                                              CourtID N o.A 5502478
 *penaltySheetts)attached
Case 1:21-cr-20159-JEM Document 1 Entered on FLSD Docket 03/16/2021 Page 16 of 19




                             UN ITED STATES D ISTR ICT C O URT
                             SO UTH ER N D ISTRICT O F FLO RIDA

                                       PENALTY SH EET

   D efendant'sNam e: Eduardo N avarro

    Case No:

    Count#:1

    Conspkacy

    Title 18.U nited StatesCode.Section 371

    *M ax.Penalty'
                 .Five(5)years'imprisonment




     *Refers only to possible term ofincarceration,doesnotinclude possible fines,restitution,
             specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
Case 1:21-cr-20159-JEM Document 1 Entered on FLSD Docket 03/16/2021 Page 17 of 19




                            UN ITED STATES D ISTR IC T C O URT
                            SO UTH ERN D ISTR IC T O F FLO R IDA

                                        PENALTY SHEET
   D efendant'sNam e: N ayade V arona

    Case No:

    Count#:1

    Conspiracy

    Title 18.United StatesCode-Section 371

    *M ax.Penalty:Five(5)years'imprisonment




     *Refersonly to possible term ofincarceration,doesnotinclude possible fines,restitution,
             specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
Case 1:21-cr-20159-JEM Document 1 Entered on FLSD Docket 03/16/2021 Page 18 of 19


AO455(Rev.01/09)Waiverofanlndictment

                                U NITED STATES D ISTRICT COURT
                                                   forthe
                                          Southem DistrictofFlorida

               United StatesofAmerica                )
                           V.                        )     CmseNo.
                                                     )
                  Eduardo Navarro,                   )
                       Defendant                     )

                                        W AIVER OF AN INDICTM ENT

      IunderstandthatIhavebeen accused ofoneormoreoffensespunishableby imprisonmentformorethan one
year.Iwasadvised in open courtofmy rightsandthe natureoftheproposed chargesagainstme.
       Afterreceiving thisadvice,Iwaivemy rightto prosecution by indictmentand consenttoprosecution by
infonnation.



Elate:




                                                                        Signatureofdejèndant'
                                                                                            sattorney

                                                                         LUIS FERNANDEZ,ESQ.
                                                                       Printednameofde
                                                                                     fendant'
                                                                                            sattorney
Case 1:21-cr-20159-JEM Document 1 Entered on FLSD Docket 03/16/2021 Page 19 of 19


AO 455(Rev,01/09)WaiverofanIndictment

                                U NITED STATES D ISTRICT COURT
                                                    forthe
                                           SouthernDistrictofFlorida

               United StatesofAmerica
                           V.                               CaseN o.

                    Nayade Varona,
                        Defendant
                                        W AIV ER O F A N IN DICTM ENT

      IunderstandthatIhavebeen accused ofoneormoreoffensespunishableby imprisonmentformorethanone
year.Iwmsadvised in open courtofmy rightsandthe natureoftheproposed chargesagainstme.

       Afterreceiving thisadvice,Iwaivemy rightto prosecutionby indictmentand consentto prosecutionby
information.




                                                                              Defendant'
                                                                                       ssignature



                                                                         Signatureofde#ndant'
                                                                                            sattorney

                                                                          ARNALDO J.SURI.ESQ!
                                                                        Printednameofdefendant'
                                                                                              sattorney




                                                                          Judge'
                                                                               sprintednameandtitle
